
USCA1 Opinion

	




                           UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                ____________________
          No. 96-1933
                                   UNITED STATES,
                                      Appellee,
                                         v.
                                 DANIEL P. ROBERTS,
                               Defendant - Appellant.
                                ____________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                       [Hon. Gene Carter, U.S. District Judge]
                                ____________________
                                       Before
                                Selya, Circuit Judge,
                             Cyr, Senior Circuit Judge,
                            and Keeton,  District Judge.
                                _____________________
               William Maselli
                             , with whom 
                                         Law Offices of William Maselli
                                                                        was
          on brief for appellant.
               F. Mark Terison, Assistant United States Attorney, with whom
          Jay 
              P. 
                 McCloskey, United States Attorney, and  Jonathan 
                                                                  A. 
                                                                      Toof,
          Assistant United States Attorney, were on brief for appellee.
                                ____________________
                                    July 23, 1997
                                ____________________
                              
           Of the District of Massachusetts, sitting by designation.

                    KEETON, District 
                                     Judge. A jury convicted defendant-
          appellant Daniel Roberts on charges of conspiracy to possess
          anabolic steroids with intent to distribute, and possession of
          anabolic steroids with intent to distribute, in violation of 21
          U.S.C. SS 841(a)(1), 841(b)(1)(D), and 846. Defendant contends on
          appeal that (1) four incidents of prosecutorial misconduct during
          the closing and rebuttal arguments deprived him of a fair trial;
          (2) the district judge's failure to instruct the jury on the
          requested defense theory of possession constitutes reversible
          error; and (3) the district judge's instructions and re-
          instructions on permissible inferences from possession in quantity
          were unfairly prejudicial. Concluding that the egregiousness of
          the prosecutorial misconduct alone deprived Roberts of a fair
          trial, we vacate the convictions and remand for a new trial.
                                   I. BACKGROUND
          A. Facts
                    Since we are concerned with the claim of prosecutorial
          misconduct and not with a claim of insufficient evidence, our
          description of the facts is not limited to evidence and inferences
          most generous to the government. Rather, we state a balanced
          description of the evidence in the record before us, to aid in
          focusing on whether the impermissible comments of the prosecutor
          tainted the proceedings materially. 
                                             See 
                                                 Arrieta-Agressot v. 
                                                                     United
          States, 3 F.3d 525, 528 (1st Cir. 1993) (court does not "take the
          evidence in the light most favorable to the government" because the
                                         -2-

          jury decision for conviction "may itself be tainted by the improper
          remarks").
                    An investigation that led to this prosecution commenced
          when a young boy's mother told local police that Robert Tibbetts
          had sold steroids to her teenage son. The ensuing investigation
          and eventual detention of Tibbetts led, in turn, to defendant
          Roberts, as explained more fully below.
                    At trial Robert Tibbetts, appearing as a witness called
          by the government, pursuant to a cooperation agreement, testified
          to the events summarized here.
                    Tibbetts purchased anabolic steroids from Dr. Patterson,
          a veterinary doctor in Maine, representing their intended use to be
          for draft horses. After Tibbetts had purchased steroids two or
          three times each week during 1995, Dr. Patterson cut off Tibbetts'
          supply because he was concerned about potentially illicit use.
          Tibbetts then began obtaining steroids from a different source --
          a Dr. Hussey of North Conway, New Hampshire -- from whom he also
          purchased oil-based testosterone every week.
                    During this time, Daniel Roberts began buying steroids
          from Tibbetts. Roberts worked as a personal trainer at different
          gyms in the Lewiston-Auburn area. He was certified to advise
          clients about nutrition and fitness and was himself a member of a
          team of weightlifters. Those of Roberts' clients who testified
          said they had no knowledge of Roberts' selling steroids, nor did
          they have knowledge of his encouraging the use of steroids. Both
          Roberts' girlfriend, Michelle Saba, and Tibbetts testified that
                                         -3-

          Roberts owned no large animals to whom the steroids could have been
          administered legally.
                    When Roberts became concerned because a large part of an
          order was missing from a North Conway shipment, Roberts and
          Tibbetts met to discuss the possibility that Roberts would make the
          necessary trips to New Hampshire instead of Tibbetts. Up until
          this point, Roberts had been providing between $1000 and $1500 in
          cash for the drugs for each trip Tibbetts made. In addition, Dr.
          Hussey had begun to express his concern over the quantity of
          steroids Tibbetts purchased on such a regular basis. Tibbetts then
          told Roberts he would not make any more trips to North Conway.
          Instead, Tibbetts suggested that Roberts make the trips and use
          Tibbetts' name. Both Dr. Hussey and his secretary confirmed that
          someone other than Tibbetts began picking up and paying for the
          steroids during the fall of 1995.
                    Tibbetts having been turned in by a concerned mother, as
          stated above, because he allegedly sold steroids to her teenage
          son, the investigation of Tibbetts led to the delivery and sale of
          steroids from Dr. Hussey's office. Agent Bals of the United States
          Drug Enforcement Administration arranged to monitor a transaction
          and to detain a person involved, who turned out to be Roberts on
          his way home from Dr. Hussey's office in New Hampshire. Roberts'
          car was stopped in Maine by Maine law enforcement authorities.
          Roberts handed over a large box of steroids, telling the Maine law
          enforcement officers that the steroids were for Roberts' own
          personal use.
                                         -4-

                    At trial, Michelle Saba, Roberts' girlfriend and a
          reluctant witness, indicated that the defendant was obsessed with
          weight lifting and with increasing his weight. He had grown from
          130 pounds, when she met him several years ago, to well over 200
          pounds. Saba further testified that Roberts used steroids daily,
          sometimes twice a day, and that their desperate financial situation
          was due to his addiction.
                    Russell Barlow, a high school teacher and friend of
          Roberts, testified that becoming larger and stronger was an
          obsession for Roberts and that Roberts took steroids for that
          reason. Barlow further testified that he (Barlow) operated a
          personal training business, and it was his experience that abusers
          of steroids would often hoard the drug in anticipation of a time
          when it would be unavailable. Apparently, weight lifters were able
          to procure steroids from the black market and from veterinarians,
          but since black market steroids were frequently impure, weight
          lifters preferred drugs provided by a veterinarian.
                    Agent Bals testified that a lively market for steroids
          existed in the gyms and among participants in various sports.
          Barlow stated that selling steroids could be very profitable,
          especially since the shelf life of many steroids was as long as
          five years.
                    The only evidence linking Roberts to the sale of
          steroids, however, other than his being in possession of large
          quantities, was the testimony at trial of Tibbetts, who said that
          Roberts had once stated that he had lost money selling steroids in
                                         -5-

          Massachusetts. Telephone records in evidence show that Roberts
          made frequent calls to telephones located in Massachusetts.
          B. Indictment, Conviction, and Sentence
                    In a two-count indictment returned on February 15, 1996,
          Roberts was charged with (1) conspiracy to possess with intent to
          distribute anabolic steroids and (2) possession with intent to
          distribute anabolic steroids in violation of 21 U.S.C. SS 841(a)
          (1), 841(b)(1)(D) and 846.
                    On April 25, 1996, the jury trial began in the United
          States District Court for the District of Maine. On April 26,
          1996, the jury returned verdicts of guilty on both counts.
                    The district judge sentenced Roberts to concurrent
          sentences of sixteen months in prison for each of the two counts,
          to be followed by two concurrent three-year terms of supervised
          release. Following imposition of sentence, Roberts filed this
          timely appeal.
                            II. PROSECUTORIAL MISCONDUCT
          A. Trial Transcript
                    We recite verbatim substantial parts of the 22-minute
          summation and 10-minute rebuttal of the prosecutor.
                         MR. TOOF: (10:18 AM) Ladies and
                      gentlemen of the jury, after I get done
                      arguing, Mr. Maselli will have an
                      opportunity to address you and I will then
                      have a brief opportunity, when he is done,
                      for rebuttal.
                                        . . .
                                         -6-

                         As I go through my review of the
                      evidence I will point out several areas in
                      which you could be misled from your oath
                      and obligation as jurors in this case. I
                      want to remind you, and I remind you again
                      and again and again that this is not a
                      popularity contest, this is not [a] what
                      should be done contest,  this 
                                                    is 
                                                       a 
                                                          trial
                      that  
                            defines  
                                     justice  
                                               based  
                                                      on  
                                                           your
                      objective evaluation of the facts in this
                      case.  
                            In other words, what has been shown
                      to you, what has not been shown to you and
                      what  
                            you  
                                 reasonably  
                                              infer  
                                                     from  
                                                            the
                      evidence that has been brought before you.
                                       . . . 
                         The defense counsel spent a great deal
                      of time attempting to show you that Mr.
                      Tibbetts is not the kind of man the
                      federal government wants you to believe.
                         [A q]uestion was asked relative to his
                      suggest[ed] sexual inclinations, that he
                      used young boys not only for business
                      purposes but to assist him in the
                      distribution of anabolic steroids and what
                      have you.
                         There is not a fact, there is not one
                      fact that has been established in this
                      case that Mr. Tibbetts did any of these
                      things.
                         However, if you accept the questions as
                      facts you could conclude what is the
                      government doing dealing with him, a guy
                      like this.   Let 
                                       me 
                                          tell 
                                                you 
                                                    that 
                                                          every
                      day, 
                           every 
                                 courtroom 
                                           in 
                                              this 
                                                   country 
                                                            the
                      federal government, the state government,
                      uses 
                           people 
                                  like 
                                       Robert 
                                              Tibbetts 
                                                       and 
                                                            the
                      reason for it is because Tibbetts elected
                      to  
                          plead  
                                 guilty,  
                                          and  
                                               was  
                                                     testifying
                      yesterday to save his hide.
                         As Mr. Maselli suggests,        either
                      Tibbetts  
                                was  
                                     a  
                                        trained  
                                                 monkey  
                                                          doing
                      whatever  he  could  do  to  satisfy  the
                      government 
                                 masters 
                                         or 
                                            he 
                                               was 
                                                   telling 
                                                            the
                      truth.
                         Do 
                            you 
                                think 
                                       this 
                                            is  
                                                the 
                                                    first 
                                                           time
                                         -7-

                      anything 
                               like 
                                    this 
                                          happened?   
                                                     Of 
                                                         course
                      not, that is why we have things like plea
                      agreements. If you want to go home
                      tonight in time to watch the early news,
                      in time for dinner, you can decide this
                      case very quickly but if you do you will
                      not have considered all of the evidence.
                      I 
                        ask 
                            you 
                                that 
                                     you 
                                         consider 
                                                  the 
                                                       Tibbetts
                      testimony in view of the agreement. These
                      are the terms and conditions which control
                      the government's entire relationship with
                      this 
                           man, 
                                nothing 
                                        more, 
                                              nothing 
                                                      less. I
                      ask you to read paragraphs 5, 4, 5 and 10.
                         All right. Once you conclude that, I
                      believe you will believe his testimony was
                      controlled by this evidence, nothing more
                      and nothing less. You should weigh his
                      credibility in view of this agreement.
                      This 
                           is 
                              all 
                                  we 
                                     have 
                                          to 
                                             gain, 
                                                   and 
                                                       this 
                                                             is
                      all 
                          we 
                             have 
                                   to 
                                      lose 
                                            from 
                                                 his  
                                                      testimony
                      before you.
                                        . . .
                         Tibbetts told you that Drown provided
                      the money, Tibbetts made the order,
                      Tibbetts went to the doctor' office in
                      North Conway and obtained the steroids[,]
                      provided them to Drown so that he could do
                      with them whatever he wanted.
                         This relationship went on for two or
                      three orders from Dr. Hussey until only
                      half an order came [back to Drown]. Drown
                      came over to Tibbetts' house and wanted to
                      know where the rest of the order was.
                      During the conversation the defendant,
                      Danny Roberts, said something like, "I'll
                      break your bones, those are my steroids."
                      It 
                         was 
                             brought 
                                     out 
                                         throughout 
                                                    the 
                                                         course
                      of trial that the reason that Tibbetts was
                      afraid 
                             of 
                                the 
                                    problems, 
                                              is 
                                                 that 
                                                       Tibbetts
                      was aware that Roberts was the treasurer,
                      I  
                        believe,  
                                  of  
                                     the  
                                          Sarasins  
                                                    Motorcycle.
                      That 
                           fact 
                                should 
                                       not 
                                            qualify 
                                                    you 
                                                        in 
                                                            any
                      way 
                          in 
                             reaching 
                                       your 
                                            verdict 
                                                    because 
                                                             if
                      you do, you will have decided the case for
                      the wrong reasons, whether he is a member
                      of  
                         a  
                            motorcycle  
                                        gang  
                                             or  
                                                 whatever,  
                                                            has
                      nothing to do with the facts of this case.
                      All right?
                                         -8-

                         This is not a personality contest.
                                        . . .
                         Agent Bals [...] and the local police
                      department got involved in the case on or
                      about January 28th or 29th they went to
                      Dr. Hussey's office, and they went there
                      because back on the 23rd, Dr. Hussey
                      received a Federal Express package
                      addressed to him from the defendant.
                      Inside was a check for almost $10,000 from
                      Robert Tibbetts to Dr. Hussey and a note
                      asking for some thousand dollars worth of
                      steroids. Okay?
                         He  
                            did  
                                 a  
                                    controlled  
                                               dilute,  
                                                        if  
                                                            you
                      will,  where  Roberts  came  to  pick  up
                      steroids, 
                                and 
                                    the 
                                         agents 
                                                waited 
                                                       to 
                                                           take
                      possession,  
                                  they  
                                        followed  
                                                 him  
                                                      down  
                                                            the
                      road back to Maine and then arrested him.
                      All right.
                         That 
                              is 
                                 essentially 
                                              what 
                                                   the 
                                                       case 
                                                             is
                      all about.
                                        . . .
                         How many years' supply did these two
                      guys obtain in 3 1/2 months? I suggest to
                      you that even under a conservative
                      estimate, even if Ms. Saba hedged a
                      little bit and in fact the defendant was
                      not using two bottles, he was using four
                      bottles, he bought enough steroids to last
                      him until the year 2000.      Ladies  
                                                            and
                      gentlemen, 
                                 that 
                                      fact, 
                                            not 
                                                that 
                                                      inference
                      but 
                          that 
                               fact, 
                                     that 
                                          fact 
                                               should 
                                                      lead 
                                                            you
                      to 
                         a 
                           conclusion, 
                                       that 
                                            conclusion 
                                                       is 
                                                           that
                      Roberts  did  not  use  all  this  supply
                      himself. I'm not beginning to contest the
                      possibility that he didn't use some of it
                      because he did. He is an anabolic junkie.
                      But he also dealt some too. He didn't
                      deal it to Hebert and Tehan, to Sandra
                      Roy, the lady that gave him a ride to
                      North Conway, not knowing where she was
                      going, and certainly not to Michelle Saba.
                      He dealt it to those people obsessed with
                      anabolic steroids and who are looking for
                      a good source of supply.
                         You 
                             know, 
                                   the 
                                        thing 
                                              in  
                                                  this 
                                                       case 
                                                             is
                                         -9-

                      that 
                           the 
                               defendant 
                                          has 
                                              no 
                                                 obligation 
                                                             to
                      testify and you should take that fact into
                      consideration 
                                    in 
                                       no 
                                          way 
                                              whatsoever.  
                                                            But
                      with 
                           respect 
                                   to 
                                      the 
                                          rest 
                                               of 
                                                  the 
                                                      case 
                                                            the
                      defendant has the same responsibility and
                      that 
                           is 
                              to 
                                 present 
                                         a 
                                           compelling 
                                                      case, 
                                                             if
                      they  
                           are  
                                to  
                                   go  
                                       forward.   
                                                  We  
                                                      know the
                      defendant deals with a large number of
                      people, according to Mr. Barlow, thousands
                      of people involved with weight lifting and
                      anabolic steroids.  Who did you see, 2 of
                      50 
                         people 
                                that 
                                     he 
                                         trains.   
                                                  Where 
                                                        is 
                                                            the
                      team?  
                            Russell Barlow?
                                             
                                             Is that it?
                                                          
                                                          Where
                      did the steroids go?  You know where they
                      went to.  Thank you. (10:40 AM).
          (Excerpts from Transcript of Jury Trial, April 25-26, 1996, at 228-
          38 (emphasis added)).
                    We quote a part of the defense summation, for context.
                         MR. MASELLI: Thank you, your Honor.
                      May it please the Court. Ladies and
                      gentlemen of the jury, Mr. Toof sat down
                      rather quickly and I guess this case is to
                      be based on conjecture, guessing as to
                      what the evidence is and what happened. 
                      Then I guess it should take 5 or 10
                      minutes and you can get home, not just for
                      dinner but you can get home for lunch as
                      well. If you want to base this case on
                      guessing as to what the evidence is, it is
                      going to be very easy.
                                        . . .
                         You know, Mr. Toof tells you about
                      Tibbetts, and I will talk about Tibbetts
                      as we go along here, about Tibbetts, he
                      signed an agreement to tell the truth with
                      the government, and so he wants you to
                      believe that he is coming here to tell the
                      truth. He never tells the truth to
                      anybody else, and he sees people left and
                      right but he is telling the truth now.
                                        . . .
                         Mr.   
                              Toof's   
                                       comments   
                                                 about   
                                                         Daniel
                      Roberts' association is like Shakespeare's
                      Mark Anthony, talking about how Brutus is
                      an honorable man.
                                        
                                        He wants you to draw an
                                        -10-

                      honest 
                             conclusion 
                                        when 
                                             he 
                                                is 
                                                   telling 
                                                            you
                      that Mr. Roberts is in a gang, and not to
                      think 
                            about 
                                  it. If he is not in a gang,
                      he belongs to a club.
                         Second of all, you don't need to guess
                      or speculate whether or not Danny Roberts
                      is an honorable man, you've heard plenty
                      of evidence and you know that he is.
                                       . . . 
                         So 
                            in 
                               closing 
                                        we 
                                           ask 
                                               you 
                                                    to 
                                                       keep 
                                                             in
                      mind that it is not Daniel Roberts' burden
                      or  
                          obligation  
                                      to  
                                           prove  
                                                  that  
                                                        he  
                                                             is
                      innocent.
                         How do you prove that you are innocent
                      other than pleading not guilty? Getting
                      up and saying, "I didn't do it." It is not
                      his burden to convince you of his
                      innocence.   It  
                                       is  
                                           the  
                                                burden  
                                                        on  
                                                            the
                      government  
                                 to  
                                     establish  
                                               guilt  
                                                      beyond  
                                                              a
                      reasonable doubt and the specific charges
                      that 
                           they 
                                brought 
                                        against 
                                                 him 
                                                     and 
                                                         it 
                                                             is
                      only 
                           by 
                              holding 
                                       the 
                                           prosecution 
                                                       to 
                                                           that
                      burden of proof that justice is done.
                                        . . .
                         Justice is holding the government to
                      the burden of proof that the law places
                      upon them to protect every single one of
                      us.
                                        . . .
                         You 
                             know 
                                  why 
                                       Dan 
                                           Roberts 
                                                   was 
                                                        getting
                      the 
                          steroids.  
                                     The 
                                         prosecution 
                                                     is 
                                                         asking
                      you 
                          to 
                             come 
                                   to 
                                      another 
                                              conclusion 
                                                          based
                      upon guess work.
                                        . . .
                         Daniel Roberts is not guilty of these
                      offenses. We ask you to return the
                      verdict of not guilty on both.
                         Thank you very much. (11:10 AM).
          (Id. at 238-41, 253-55 (emphasis added)).
                    Following are excerpts from the 10-minute rebuttal of the
                                        -11-

          prosecutor.
                         MR. TOOF: Thank you, your Honor.
                      Ladies and gentlemen, a 
                                              strange 
                                                      twist 
                                                             in
                      defense counsel's argument. He closed out
                      by arguing lack of evidence when he spent
                      the 
                          lion's 
                                 share 
                                       in 
                                          telling 
                                                  you 
                                                      that 
                                                            you
                      can't believe a guy like Robert Tibbetts.
                                       . . . 
                         This is not Tibbetts' trial. His day
                      in court may or may not come because of
                      other cases he has. I ask again that you
                      review his testimony in conjunction and
                      ask yourself this question:    Would  
                                                            you
                      believe 
                              what 
                                   he 
                                       had 
                                           to 
                                              tell 
                                                    you 
                                                        if 
                                                            you
                      knew that he didn't tell you the truth and
                      faces 
                            the 
                                consequences 
                                             set 
                                                 forth 
                                                       in 
                                                           that
                      plea agreement?
                         That is the issue.
                                       . . . 
                         Now, if you're going to lie, if you're
                      going to pin Dan Roberts with something,
                      the clear inference is, from defense
                      counsel, this is just that Tibbetts was
                      going to come in here without assistance
                      and our sanction and purge [sic] himself.
                      If you're going to do that, you do a much
                      better job.... If we are going to prepare
                      our 
                          witnesses 
                                    to 
                                       lie, 
                                            we 
                                               would 
                                                     do 
                                                        a 
                                                           much
                      better 
                             job 
                                 than 
                                      that. Enough said about
                      Tibbetts.
                                        . . .
                         Now, the essence of the defendant's
                      closing was that you should acquit because
                      of insufficient evidence.
                         The essence of the defendant's argument
                      was that you can't allow the government to
                      use this kind of witness to prove this
                      kind of case.
                         All 
                             I 
                               can 
                                   tell 
                                        you, and repeat to you
                      again, that is not the basis upon which
                      you can decide issues in this case,   you
                      have  
                            to  
                                look  
                                      dispassionately  
                                                       at  
                                                            the
                                        -12-

                      evidence  
                               and  
                                    draw  
                                         reasonable  
                                                     inferences
                      that should be drawn from that evidence.
                                        . . .
                         Mr. Maselli says, you know, the
                      government with all its power, resources
                      and all of its whatever, there is no
                      evidence of one sale. And you are right,
                      there is no evidence of a search of
                      defendant's house; and you are right, that
                      argument is one, an invitation for a cop
                      out. You go back to the jury room and
                      say, they could have given us more. But
                      you have to consider all of the evidence,
                      and if I'm wrong Mr. Maselli will probably
                      stand up and let us know.    He 
                                                      knows 
                                                             as
                      well 
                           as  
                              I 
                                 do 
                                    there 
                                           are 
                                               extremely 
                                                          sound
                      reasons why the government cannot bring in
                      people  
                             to  
                                 take  
                                      the  
                                           stand  
                                                 and  
                                                      say  
                                                           they
                      bought anabolic steroids from Tibbetts or
                      Roberts,  that  I  was  involved  in  the
                      conspiracy equally as the defendant.
                                                           
                                                           That
                      is  
                         a  
                            fact,  
                                  and  
                                       that  
                                            is  
                                                the  
                                                    law.   
                                                            Why
                      didn't  
                             we  
                                 search  
                                         the  
                                              house  
                                                     in  
                                                         Poland
                      Springs?   
                                Because 
                                        that 
                                              is 
                                                 an 
                                                    [abuse 
                                                            of]
                      power  
                            of  
                                the  
                                    government.   
                                                  There  
                                                         is  
                                                             no
                      evidence   
                                of   
                                     the   
                                           seizure   
                                                     of   
                                                          those
                      anabolics.
                         MR. MASELLI: I object, he is speaking
                      of facts outside of the evidence.
                         THE COURT: Overruled, he may continue.
                         MR. TOOF:  There 
                                          is 
                                             no 
                                                evidence 
                                                          based
                      upon what you heard during this trial that
                      the government had sufficient cause to go
                      in Michelle Saba and Dan Roberts' house to
                      go in and search for steroids.
                                        . . .
                         Now, there are too many steroids here
                      for personal use and the law tells you
                      there is a reasonable inference, that you
                      can reasonably conclude that the steroids
                      were being distributed.
                                        . . .
                         THE COURT: Mr. Toof, you have only 10
                                        -13-

                      minutes in rebuttal.
                         MR. TOOF: Thank you. Sandra Roy
                      didn't know they were going to North
                      Conway. Didn't know. The evidence is
                      sufficient for you to return a verdict of
                      guilty. Thank you very much. (11:18 AM).
          (Id. at 255-260 (emphasis added)).
          B. The Standard for Determining Prosecutorial Misconduct 
              Applicable to This Case
                    On appeal, Roberts raises several issues of prosecutorial
          misconduct as to which his counsel did not make timely objections
          during the proceedings below. We first consider whether he has
          waived or otherwise lost his right of appeal with regard to those
          claims of error. See, 
                                e.g., 
                                      United States
                                                    v. 
                                                       Taylor, 54 F.3d 967,
          972 (1st Cir. 1995); United 
                                      States v.  Griffin, 818 F.2d 97, 100
          (1st Cir.), cert. denied, 484 U.S. 844 (1987).
                    Rights to have a claim of error heard on the merits are
          sometimes lost by failure to object in the trial court. 
                                                                 See 
                                                                     United
          States v. 
                   Olano, 507 U.S. 725, 732-34 (1993). "In general, the law
          ministers to the vigilant, not to those who sleep upon perceptible
          rights." Taylor, 54 F.3d at 972.
                    Requiring parties to raise contemporaneous objections
          serves several important functions. It gives the trial court the
          first opportunity to correct potential injustice by invoking an
          immediate cure and forestalling future harm. 
                                                      See 
                                                          Griffin, 818 F.2d
          at 100 (finding that contemporaneous objections give "both the
          court and the party's opponent fair warning and a timely
          opportunity to acknowledge bevues and correct them so that cases
                                        -14-

          can be decided squarely on merit"). Ordinarily, the trial judge is
          in the best position to assess the damage at the time done.   Id.
          Also, the raise-or-lose rule "prevents sandbagging" and inhibits
          strategic or tactical silences that quietly nurture the seed of
          trial error for assertion on appeal, should all else fail. 
                                                                    Taylor,
          54 F.3d at 972. In short, adhering to the raise-or-lose rule makes
          a positive contribution to "the balanced and orderly functioning of
          our adversarial system of justice."  Griffin, 818 F.2d at 99-100.
                    Invariable application of the raise-or-lose rule,
          however, would be "out of harmony with ... the rules of fundamental
          justice."   Olano, 507 U.S. at 732 (1993) (quoting     Hormel v.
          Helvering, 312 U.S. 552, 557 (1941)) (internal quotation marks
          omitted). Provisions of a Federal Rule of Criminal Procedure are
          on point:
                         (a) Harmless Error. Any error, defect,
                      irregularity or variance which does not
                      affect substantial rights shall be
                      disregarded.
                         (b) Plain Error. Plain error or defects
                      affecting substantial rights may be
                      noticed although they were not brought to
                      the attention of the court.
          Fed. R. Crim. P. 52.
                    This Circuit has consistently held, in applying the law
          of preclusion as laid down in 
                                       Olano, 507 U.S. at 733-34, and 
                                                                     United
          States v. 
                   Young, 470 U.S. 1, 15 (1985) (plain-error exception is to
          be used sparingly, solely to avoid miscarriage of justice), that
          errors not objected to at trial will be reviewed by the appellate
          court only when they are "plain" and undermine the fundamental
          fairness of the trial.  See, e.g., United 
                                                    States v. Sullivan, 85
                                        -15-

          F.3d 743, 748 (1st Cir. 1996); United States
                                                       v. 
                                                          Luciano-Mosquera,
          63 F.3d 1142, 1156 (1st Cir. 1995), 
                                            cert. denied
                                                        , --- U.S. ---, 116
          S. Ct. 1879 (1996);  Taylor, 54 F.3d at 972;    United  
                                                                 States v.
          Romero, 32 F.3d 641, 651 (1st Cir. 1994);      United  
                                                                 States v.
          Hunnewell, 891 F.2d 955, 956 (1st Cir. 1989);   United 
                                                                 States v.
          Mejia-Lozano, 829 F.2d 268, 272-73 (1st Cir. 1987).
                    Plain error review is ordinarily limited to
          "blockbusters" and does not "consider the ordinary backfires --
          whether or not harmful to a litigant's cause -- which may mar a
          trial record."  Griffin, 818 F.2d at 100. The plain error hurdle
          is high. See 
                       Hunnewell, 891 F.2d at 956. Exceptions to the raise-
          or-lose rule are reserved for the redress of those errors that
          "seriously affect the fairness, integrity or public reputation of
          the judicial proceedings."  Young, 470 U.S. at 14 (quoting United
          States v. Atkinson, 297 U.S. 157, 160 (1936) (internal quotation
          marks omitted)).
                    Among the strictures that channel appellate discretion in
          plain error review are three of commonly recognized significance:
          the appellant must show (1) the occurrence of an error; (2) that
          the error is obvious or clear under current law; and (3) that the
          error substantially and adversely affects the rights of the
          appellant. See Olano, 507 U.S. at 732-34; United States v. Laboy-
          Delgado, 84 F.3d 22, 31 (1st Cir. 1996); Romero, 32 F.3d at 651.
          In order to discern the severity of the error and its weight in
          plain-error analysis, a court must evaluate the error against the
          entire record.  See Griffin, 818 F.2d at 100. See also Young, 470
                                        -16-

          U.S. at 11-12;  Laboy-Delgado, 84 F.3d at 29;   United 
                                                                 States v.
          McMahon, 938 F.2d 1501, 1505 (1st Cir. 1991).
          C. Application of the Standard
                    It is axiomatic that the defendant's right against self-
          incrimination, as protected by the Fifth Amendment, forbids the
          prosecution from commenting on an accused's failure to take the
          stand and testify on his own behalf.  See Griffin v.  California,
          380 U.S. 609, 613 (1965).
                    In the present case, in fairness to the prosecution, we
          must take account of the use by defense counsel of a permissible
          defense strategy with respect to a "theory of the case." A
          defendant is guaranteed an opportunity to advance a "theory of the
          case" from the defense perspective.  See United States v. Rivera-
          Santiago, 107 F.3d 960, 967 (1st Cir. 1997) ("The defendants were
          entitled to have their theory of the case, as developed through
          their evidence, presented to the jury on an equal footing with the
          government's theory of the case."). When a defendant advances a
          "theory of the case," however, this opens the door to an
          appropriate response by the prosecution, commenting on the "quality
          of his ... witnesses or ... attacking the weak evidentiary
          foundation on which the defendant's theory of the case rested."
          United 
                 States v. Savarese, 649 F.2d 83, 87 (1st Cir. 1981). In
          Savarese, this Circuit recognized that the government, in its
          response, has some leeway to comment on the defendant's failure to
          produce evidence supporting the defendant's stated theory.    Id.
                                        -17-

          The door, however, is not open to the prosecutor's using such an
          occasion to comment, even indirectly, on a defendant's failure to
          testify.  E.g., United 
                                 States v.  Glantz, 810 F.2d 316, 322 (1st
          Cir. 1987). The applicable standard is
                      whether, in the circumstances of the
                      particular case, the language used was
                      manifestly intended or was of such
                      character that the jury would naturally
                      and necessarily take it to be a comment on
                      the failure of the accused to testify.
          Id. (internal quotation marks omitted). Applying this standard, we
          conclude that the prosecutor in this case impermissibly entered
          upon forbidden terrain.  See also United States v. Hardy, 37 F.3d
          753, 757 (1st Cir. 1994) (prosecutorial argument that defendants
          were "still running and hiding"); United 
                                                   States v. Skandier, 758
          F.2d 43, 45 (1st Cir. 1985) (finding prosecutor's question during
          closing as to how defense counsel would explain identified events
          that occurred, in a case where the defendant did not take the
          stand, violative of the Griffin rule).
                    In the present case, the prosecutor violated both the
          rule against commenting on the defendant's failure to testify and
          the rule against telling the jury that the defendant has a burden
          of proving his innocence. The prosecutor at intervals throughout
          his original summation and his rebuttal made comments that
          supported a theme, explicitly stated at one point in the remark
          that, when a defendant does "go forward" to offer evidence, "the
          defendant has the same responsibility [as the government] and that
          is to present a compelling case." (Tr. at 237.)          See the
          emphasized passages in quotations from the record, in Part II.A,
                                        -18-

          above.
                    In some circumstances, contemporaneous curative
          instructions have been determined to be sufficient to correct an
          obscure reference to one or the other of these two basic rules that
          the prosecutor violated in this case. The offending remarks in this
          case, however, were not obscure, and curative instructions were
          neither requested nor given.
                    Given the particular facts of this case, the
          prosecutorial excesses identified above were alone too egregious
          for this conviction to stand. But there is more. The prosecutor
          alluded in his closing argument to evidence not in the record. He
          told the jury:
                      It was brought out throughout the course
                      of the trial that the reason that Tibbetts
                      was afraid of the problems, is that
                      Tibbetts was aware that Roberts was the
                      treasurer, I believe, of the Sarasins
                      Motorcycle. That fact should not qualify
                      you in any way in reaching your verdict
                      because if you do, you will have decided
                      the case for the wrong reasons, whether he
                      is a member of a motorcycle gang or
                      whatever, has nothing to do with the facts
                      of this case. 
          (Tr. at 233.) The rhetorical style of this comment is like that of
          the prosecutor's saying to the jury, "the defendant has no
          obligation to testify and you should take that fact into
          consideration in no way whatsoever" (Tr. at 239), following
          immediately with an assertion that is at least seriously misleading
          if not worse: "But with respect to the rest of the case the
          defendant has the same responsibility and that is to present a
                                        -19-

          compelling case, if they are to go forward." (   Id.) In all of
          these instances, neither the prosecutor's assertion of belief that
          the proposition was legally valid nor the context of its use by the
          prosecutor insulate it from judicial scrutiny.  See United States
          v. Manning, 23 F.3d 570, 574 (1st Cir. 1994); Arrieta-Agressot, 3
          F.3d at 529 (finding that inflammatory arguments "excite the jury,
          invite a partisan response, and distract its attention from the
          only issue properly presented in the case" (emphasis in original)).
          In context, the jury, quite reasonably, could have interpreted the
          prosecutor's comments in this case as rhetorical flourishes meant
          to invite them to do just what the introductory comments literally
          said they should not do. Why else would the prosecutor be saying
          anything at all about a forbidden subject matter?
                    The record before this court on appeal contains no
          evidence of Roberts' involvement in any gang. Protestations before
          this Court that the prosecutor was merely taking care to
          demonstrate an intention to be fair ring hollow. Being fair in
          fact is commendable. But parading an appearance of fairness by
          calling attention to things not to be considered by the jury is a
          dubious tactic in any setting. It is certainly not permissible
          when the way it is carried through -- by pointing out the
          prohibited comments in order to warn the jury of their forbidden
          nature -- tends to implant in the minds of jurors the very things
          forbidden, by saying they are things the jury must think about in
          order to remember not to think about them.
                    We do not lightly excuse the lack of contemporaneous
                                        -20-

          objections. But, at times, the judge must intervene. In our
          judgment, these instances of prosecutorial misconduct, in
          combination, undermined the fundamental fairness of the trial and
          require us, in the interest of justice, to wipe the slate clean.
                    Having determined that these instances of prosecutorial
          misconduct require that the conviction be vacated, we do not
          address other issues that arose in the trial but are not likely to
          arise in any new trial of this case.
                  III. PROSECUTORIAL ARGUMENT ABOUT PROBABLE CAUSE
                    The prosecutorial argument about probable cause (quoted
          in Part II.A above) exceeded proper bounds. We address the matter
          only briefly, because this issue is unlikely to arise again in a
          new trial.
                    The prosecutorial argument on this subject is defended on
          appeal on the ground that it was a fair response to defendant's
          closing argument. The defense summation included an argument to
          the jury that no incriminating evidence would have been found had
          the government searched defendant's living quarters because no such
          incriminating evidence existed. We assume, dubitante, that this
          was a permissible defense argument. In any event, the prosecutor
          did not object and the district judge did not intervene.
                    The response by the prosecutor to the defendant's
          argument was, nevertheless, not permissible. First, a prosecutor
          cannot escape the law's prohibitions against arguments on matters
          not properly to be considered by the jury in a criminal case by
                                        -21-

          deliberately withholding an objection to an objectionable defense
          argument and arguing that the defense opened the door. Second,
          even if we assume that the defense argument was permissible and did
          "open the door" to a rebuttal argument by the prosecutor, the scope
          of a permitted response is not unlimited. Here, the prosecutor's
          response made assertions of fact about conduct and events that were
          not supported by any evidence in the record and added assertions of
          law that were not entirely accurate.  See Part II.A above. Thus,
          the response was out of bounds.
                    We say no more on this subject because it is unlikely
          that this issue will arise in a new trial.
                               IV. JURY INSTRUCTIONS
                    The appellant raises additional issues regarding the
          court's instructions to the jury. We address only two such issues
          because others are unlikely to arise again in a new trial. First,
          the district court instructed and reinstructed on the jury's
          drawing an inference of intent to distribute, founded on evidence
          about quantity of steroids amassed by the defendant. Second, the
          district court declined to give the requested instructions as
          framed by the defendant regarding an inference or presumption of
          the legality of possession, based on evidence of procurement from
          a licensed provider. For the reasons stated below, we conclude
          that appellant's objections lack merit.
                    "The challenged instruction is reviewed for abuse of
          discretion to determine whether the charge, taken as a whole fairly
                                        -22-

          and adequately submit[s] the issues in the case to the jury."
          United  
                 States v.   Rose, 104 F.3d 1408, 1412 (1st Cir. 1997)
          (citations omitted) (internal quotation marks omitted).  See also
          United States v. Mitchell, 85 F.3d 800 (1st Cir. 1996).
                    We conclude that the district court's instructions and
          reinstructions on permissible inferences were not an abuse of
          discretion. On the contrary, the instructions and subsequent
          reinstructions on an inference from the quantity of drugs possessed
          were consistent with a large body of precedent. 
                                                         See 
                                                             Rose, 104 F.3d
          at 1413. Specifically with regard to drug possession and intent to
          distribute, this Circuit has recognized that possession of large
          quantities of drugs permits the inference that the drugs are for
          distribution and not personal use.   See,  e.g., United 
                                                                  States v
          Echeverri, 982 F.2d 675, 678 (1st Cir. 1993);   United 
                                                                 States v.
          Ocampo-Guarin, 968 F.2d 1406, 1410 (1st Cir. 1992); United States
          v. Batista-Polanco, 927 F.2d 14, 18-19 (1st Cir. 1991).
                    In this case, the trial judge gave somewhat more emphasis
          than is usually given to one factor by saying that "it may be
          unlikely that an individual in possession of a large quantity of
          anabolic steroids" intends them "for his own use." The relatively
          isolated placement of this remark in a reinstruction given in
          response to a jury request added to the emphasis. The charge to
          the jury must nevertheless be taken as a whole. See 
                                                              United States
          v. Boylan, 898 F.2d 230, 244 (1st Cir. 1990);   United 
                                                                 States v.
          Griffin, 818 F.2d 97, 100 (1st Cir. 1987); see also United States
          v. 
            Acosta, 763 F.2d 671, 677 (5th Cir. 1985) (finding it proper for
                                        -23-

          a trial judge to limit reinstruction to the specific request made
          by a jury). Read in its entirety, the court's instructions explain
          the applicable law appropriately and without misleading the jury.
          See United 
                     States v. Alzanki, 54 F.3d 994, 1001 (1st Cir. 1995).
          The fact that one part of the instructions was repeated in response
          to the jury's written request does not change our assessment that
          the instructions taken as a whole were a fair and correct statement
          of law. See Rose, 104 F.3d at 1416.    See 
                                                     also United 
                                                                 States v.
          Ladd, 885 F.2d 954, 959 (1st Cir. 1989); Acosta, 763 F.2d at 677-
          78.
                    As to the issue regarding the denial of the defendant's
          request for instructions based upon 21 U.S.C. S 844(a), we perceive
          no error on the part of the court. In relevant part, the statute
          provides that "it shall be unlawful for any person knowingly or
          intentionally to possess a controlled substance unless such
          substance was obtained directly, or pursuant to a valid
          prescription..." 21 U.S.C. S 844(a). The defendant's request was
          flawed in that it would have placed in the mouth of the trial judge
          an implied if not express statement that it was an undisputed fact
          that Roberts obtained the steroids pursuant to a valid
          prescription. It is true, without dispute in this record, that
          Roberts obtained the prescription from a veterinarian licensed to
          dispense steroids, and that the prescription was strictly for
          animal use, not for human consumption. But no evidence in the
          record even tends to prove that Roberts meant the steroids for
          animal use. A defense request that the court give an instruction
                                        -24-

          containing an implicit assumption of the truth of his contention,
          unsupported by evidence, was thus a flawed request. The trial
          judge did not err in declining to give this requested instruction.
          See United States v. Silvestri, 790 F.2d 186, 193 (1st Cir. 1986)
          (finding that a court need not instruct a jury on a defense theory
          if there is no supporting evidence in the record).
                           V. SUFFICIENCY OF THE EVIDENCE
                    The beyond-reasonable-doubt burden applies to "every
          element" of each offense charged but neither to all the subsidiary
          inferences nor to "every hypothesis consistent with the defendant's
          innocence."  United States v. Spinney, 65 F.3d 231, 234 (1st Cir.
          1995).
                    Although the strength of the evidence proffered against
          Roberts was less than overwhelming, after considering the record in
          full, we conclude that the evidence was sufficient for a reasonable
          jury to find beyond reasonable doubt every element of the offenses
          charged in the two counts of the indictment. We conclude that the
          defendant's request for a judgment of acquittal must be denied.
                                     CONCLUSION
                    For the reasons explained in this opinion, it is ORDERED:
                    The judgment convicting Daniel Roberts of the charges
          stated in the two counts of the indictment is 
                                                      VACATED. The case is
          REMANDED for new trial. Costs are awarded to the appellant.
                                        -25-


